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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                              No.4:05CR00109 JLH

ROBERT PHILLIP BREVARD, III, aka ROB;
BRODERICK CHUNN, aka MONEY B.;
ALLISON MTHIMKHULU; STEPHAN BURKS;
and CHIQUITA BURKS


                               FINAL ORDER OF FORFEITURE

        WHEREAS, on June 6, 2007, this Court entered a Second Amended Preliminary Order of

Forfeiture, ordering defendants to forfeit their interest in the following:

        a.      A sum of money equal to approximately $19,900.00 in
                U. S. Currency representing the amount of proceeds obtained as a result of the
                offense set forth in Count 1;

        b.      A 2001 Dodge Dakota Truck VIN # 1B7HL2AX91S262414 seized from
                STEPHAN BURKS;

        c.      Approximately $11,388.00 seized from ALLISON MTHIMKHULU;

        d.      $6,375.40 in U. S. Currency seized from BRODERICK CHUNN aka Money B.;


        WHEREAS, the United States caused to be published in the Arkansas Democrat Gazette,

a newspaper of general circulation, notice of this forfeiture and of the intent of the United States

to dispose of the property in accordance with the law and as specified in the Second Amended

Preliminary Order, and further notifying all third parties of their right to petition the Court within

thirty (30) days for a hearing to adjudicate the validity of their alleged legal interest in the

property;
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       WHEREAS, the United States also provided actual notice to all interested parties,

including to the defendants;

       WHEREAS, no claims were filed by any persons with respect to any of the property

described herein;

       IT IS ORDERED that all right, title, and interest in all of the property set forth above is

hereby forfeited to the United States, and the United States Marshal shall dispose of such

property according to law.

       SO ORDERED this 24th day of August, 2007.




                                                     __________________________________
                                                     UNITED STATES DISTRICT JUDGE
